Case 23-90085 Document 1594-2 Filed in TXSB on 11/27/23 Page 1 of 3




                            EXHIBIT B
                           Fee Objection
               Case 23-90085 Document 1594-2 Filed in TXSB on 11/27/23 Page 2 of 3




From:                             Rich Ramirez
Sent:                             Thursday, November 9, 2023 4:55 PM
To:                               Caroline.Reckler@lw.com
Cc:                               STIBANKRUPTCY.LWTEAM@lw.com; GABF Sorrento Team; HuttonJ@gtlaw.com;
                                  Shari.Heyen@gtlaw.com
Subject:                          Sorrento - Objection to L&W Monthly Fee Statement


Ms. Reckler:

Pursuant to Sec on 1 of the Order Establishing Procedures for Interim Compensa on and Reimbursement of Expenses for
Professionals [Dkt. No. 442] (the “Compensa on Order”), the Oﬃcial Commi ee of Equity Securi es Holders (the “Equity
Commi ee”) hereby registers wri en no ce of its objec on (this “Objec on”) to the Seventh Monthly Fee Statement of
Latham & Watkins LLP for Compensa on for Services Rendered and for Reimbursement of Expenses as Bankruptcy Co-
Counsel to the Debtors for the Period From September 1, 2023 through September 30, 2023 [Dkt. No. 1474] (the “Latham
September Fee Statement”) of Latham & Watkins LLP (“Latham”).

Inclusive of the holdback amount, the Latham September Fee Statement requests a total of $1,512,473.17 in fees and
expenses.

The nature and basis of the Objec on is:

First, the Equity Commi ee believes that the total amount of the fees and expenses charged by Latham in these Chapter
11 Cases are excessive in light of the quality of services rendered and are dispropor onate to the projected recoveries in
this case. For example, between September 1, 2023 through September 30, 2023 (the “Fee Period”), 686.70 hours
equivalent to nearly $900,000 in fees was expended on “Asset Disposi ons” alone. During the Fee Period, however, the
Debtors closed only one notable asset sale and one de minimis asset sale for the beneﬁt of the Debtors’ estates. In the
Equity Commi ee’s view, those solitary sales do not jus fy the grossly dispropor onate amount of fees charged.

Second, the Equity Commi ee is currently conduc ng an inves ga on of all fees and expenses incurred by professionals
retained by the Debtors, including any consultants or conﬂicts counsel retained by those Debtors’ professionals (the
“Fees Inves ga on”). The Fees Inves ga on is ongoing, and it is the Equity Commi ee’s posi on that un l the Fees
Inves ga on is concluded, the status quo as to any future payments to the Debtors’ professionals must be
preserved. The Equity Commi ee has also received informa on sugges ng that Latham may have par cipated in
improper conduct in these proceedings by communica ng with Liz Freeman, who has now been disclosed as Judge
Jones’s girlfriend, notwithstanding that Ms. Freeman had no role in these cases. The Equity Commi ee has been
informed that Ms. Freeman was needed for consulta on on “local prac ces and procedures,” but that is why Jackson
Walker LLP (“Jackson Walker”) has been retained. The sugges on that Latham and Jackson Walker needed advice on
“local prac ces and procedures” deﬁes credulity, and the Equity Commi ee will be seeking discovery to conﬁrm the
opera ve facts.

Pursuant to Sec on 1.c. of the Compensa on Order, no ce of this Objec on will be provided to all Applica on
Recipients (as deﬁned in the Compensa on Order).

We reserve all rights.

--



                                                            1
                    Case 23-90085 Document 1594-2 Filed in TXSB on 11/27/23 Page 3 of 3
Rich Ramirez
W: 212.970.1624
rramirez@glennagre.com




1185 Avenue of the Americas
New York, NY 10036




******************************Important Notice ******************************
This email and any files transmitted with it are confidential and may be subject to the attorney-client or other privileges. Use or disclosure of this email or any such
files by anyone other than the intended recipient is prohibited. If you are not the intended recipient, please notify the sender immediately and delete this message
from your system.




                                                                                   2
